                 UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                           AT GREENEVILLE



 UNITED STATES OF AMERICA                           )
                                                    )
 v.                                                 )      NO. 2:07-CR-51
                                                    )
 ISABEL DELGADO                                     )



                                     ORDER

              This criminal matter is before the Court to consider the Report and

 Recommendation of the United States Magistrate Judge. The defendant has filed

 no objections to this report.

              After careful consideration of the Report and Recommendation of the

 United States Magistrate Judge, [Doc. 34], it is hereby ORDERED that this Report

 and Recommendation is ADOPTED and APPROVED, and that the motion to

 dismiss filed by the defendant is DENIED. [Doc. 25].



              ENTER:


                                                   s/J. RONNIE GREER
                                               UNITED STATES DISTRICT JUDGE




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